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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

SAMMI OWENS                                      §
                                                 §       CIVIL ACTION NO. 3:17-cv-2446
v.                                               §
                                                 §      JURY DEMANDED
CENTAURI SPECIALTY INSURANCE                     §
COMPANY

                          DEFENDANT’S NOTICE OF REMOVAL

       Defendant Centauri Specialty Insurance Company (“Centauri”) files this Notice of

Removal pursuant to 28 U.S.C. §§ 1332, 1441, and 1446 as follows:

                                 I. N ATURE OF THE S UIT
       1.      This lawsuit arises from a claim for property damage made by Plaintiff under a

policy of homeowner’s insurance issued by Centauri. Plaintiff reported damage alleged to be

caused by wind and/or hail, and filed this lawsuit after the claim was adjusted and paid.

                            II. P ROCEDURAL B ACKGROUND
       2.      On June 5, 2017, Plaintiff Sammi Owens filed the Original Petition initiating an

action against Defendant Centauri in the 14th Judicial District Court of Dallas County, Texas,

bearing Cause No. DC-17-06621 (“the State Court Action”). See Exhibit B. A jury demand

was made in the State Court Action. Id. On August 10, 2017, Plaintiff filed an amended petition.

See Exhibit C.

       3.      Centauri was served with the Amended Petition in the State Court Action on

August 16, 2017. See Exhibit D.

       4.      Centauri has not filed an Answer in the State Court Action.
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          5.    This Notice of Removal is timely filed within the 30-day statutory time period for

removal under 28 U.S.C. § 1446(b)(1), being filed within 30 days after Defendant’s receipt of

service of process.

          6.    This Notice of Removal is also timely filed within one year after commencement

of the State Court Action, in compliance with 28 U.S.C. § 1446(c)(1).

                                 III. B ASIS FOR R EMOVAL
          7.    This Court has original diversity jurisdiction under 28 U.S.C. § 1332 over this

civil action, and the action may be removed by Centauri pursuant to 28 U.S.C. § 1441(b), as it is

a civil action between citizens of different states, and the matter in controversy exceeds the sum

of $75,000, exclusive of interest and costs.

          8.    According to Plaintiff’s state court pleadings, Plaintiff is a citizen of the state of

Texas and resides in Dallas County. See Exhibit B at ¶ 2. Defendant Centauri is incorporated

under the laws of Florida and maintains its principal place of business in Florida, and thus is a

citizen of Florida for purposes of diversity jurisdiction. Because Plaintiff is a citizen of Texas

and Defendant is a citizen of Florida, complete diversity of citizenship exists among the parties.

          9.    Plaintiff’s Amended Petition pleads monetary damages between $200,000 and

$1,000,000 under TEX. R. CIV. P. 47, which requires the petition to identify the amount of

monetary relief sought. Therefore, the petition on its face demonstrates an amount in controversy

which is within this Court’s jurisdiction. Because the amount in controversy on its face exceeds

$75,000, this Court has subject matter jurisdiction under 28 U.S.C. §1332, and this removal is

proper.

          10.   Removal to the Northern District of Texas, Dallas Division is proper because the

state court action is pending in Dallas County, which is part of the Northern Division.



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        11.    In compliance with Local Rule 81.1(a)(4), Defendants attach to this Notice of

Removal: (a) appendix containing an index of all attached documents, and (b) a copy of the state

court docket sheet. See Appendix.

        12.    Centauri will separately file its Corporate Disclosure in compliance with Fed. R.

Civ. P. 7.1.

        13.    In compliance with 28 U.S.C. § 1446(d), Centauri hereby certifies that it will

promptly notify the clerk of the court in the State Court Action and all adverse parties of this

removal.

                             IV. C ONCLUSION AND P RAYER
        14.    The basis for this removal and this Court’s jurisdiction is diversity of citizenship

under 28 U.S.C. §1332 because Plaintiff is a citizen of Texas and Defendant is a citizen of

Florida. The amount in controversy, based on Plaintiff’s pleadings, facially exceeds $75,000,

exclusive of interest and costs. As such, this removal is proper under 28 U.S.C. §1441. On these

grounds, Defendant hereby removes the referenced State Court Action to this Court.

        15.    Defendant demands a jury in this removed action.

        16.    THEREFORE, Defendant Centauri Specialty Insurance Company respectfully

requests that the above-entitled action be removed from the 14th Judicial District Court of Dallas

County, Texas to the United States District Court for the Northern District of Texas, Dallas

Division.




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                                        Respectfully submitted,

                                        MARTIN, DISIERE, JEFFERSON & WISDOM, L.L.P.

                                        /s/ Alan Moore
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                             CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of Defendant’s Notice of Removal was
served this 14th day of September, 2017 on the following counsel of record by the method
specified:

James M. McClenny                               Via Facsimile: (713) 322-5953
J. Zachary Moseley                              and Email: james@mma-pllc.com;
Chidi Oha                                       zach@mma-pllc.com; chidi@mma-pllc.com
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                                                  /s/ Barrie J. Beer
                                                  Barrie J. Beer


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